Case 1:20-cv-01405-RGA Document 1 Filed 10/19/20 Page 1 of 4 PagelD #: 1

REDACTED
Case 1:20-cv-01405-RGA Document1 Filed 10/19/20 Page 2 of 4 PagelD #: 2

AFFIDAVIT OF TRUTH

20- 1405
DELAWARE state )
unincorporated ) Scilicet
) 3
County of New Castle ) =
unincorporated ) 3
3S
“Indeed, no more than (affidavits) is necessary to make the prima facie case.” ~~ ?
Cert Denied, 50 U.S. L.W. 2169; S. Ct. March 22, 1982.); =
United States v. Kis, 658 F.2d, 526, 536-337 (7th Cir. 1981) y?
yi

4

THAT I, Sarita-Mae: Banning, a living breathing wo/man, being first duly sworn, depose and say and “
declare by my autograph that the following facts are accurate, correct, and complete to the best of my knowledge and
belief.

THAT, the Affiant’s rights “...existed by the law of the land (Common Law), “long antecedent” to the
organization of the State...” (Hale v. Henkel, 201 U.S. 43 (1906))

THAT, the Affiant's right exists even in light of the U.S. Bankruptcy, aka The National Emergency, and that
includes the right of redemption.

THAT, the Affiant filed a UCC Financing Statement (UCC-1) UCC Filing Number (Redacted), via New York
State on September 06, 2019, to perfect a security interest to initiate redemption as a matter of right.

THAT, under the Declaration of Independence, “All men...have certain inalienable rights’; however, the
Affiant, thus an Aboriginal and Indigenous American (U.S. Department of State Full Faith and Credit # (Redacted),
have unalienable Rights under natural law and the Articles of Confederation, 1781.

THAT, the Affiant, is of the sovereign people, above the corporate government called ‘State of
Delaware/STATE OF DELAWARE, operating in a de-facto bankrupt capacity/status. (Chisholm v. Georgia (U.S.) 2
Dall 419, 454, 1 L Ed 440, 455 @Dall (1793) Pp 471-472.)

THAT, the Affiant is the Secured Party/Creditor and authorized representative of the corporate fiction-
entity/Debtor (Ens legis) identified as SARITA MAE BANNING®.

THAT, the Affiant caused to be filed, a Superior Security Interest and Lien upon the property of the Debtor
and in the Debtor's name filed first in line and first in time, over and above the State of Delaware and that all property
is exempt from levy.

THAT, the State of Delaware can not show nor provide a superior interest in the said property as identified
upon the “Registered” Security Agreement held by the Affiant. (see for reference; Wynehamer v. People of New York
13 N.Y. 378 (1856))

THAT, the Affiant/Secured Party is flesh and blood, and the corporate fiction/Debtor/Ens legis, appearing
upon any UCC filings, is ‘artificial,’ created in the contemplation of law (commerce), AND THE TWO ARE NOT THE
SAME; ONE BEING REAL THE OTHER FICTION.

THAT, any discrimination or injury caused by the State of Delaware to recognize the two distinct entities
(one is real and the other artificial), agrees to such injuries and associated damages as established by the Affiant and

1 Want
ie
WORLDWIDE INTERNATIONAL DOCUMENT SMB20201012-A0T- yur Ih S_™ Copy Claim
Delivered via RF 245 413 170 US
Case 1:20-cv-01405-RGA Document1 Filed 10/19/20 Page 3 of 4 PagelD #: 3

AFFIDAVIT OF TRUTH

the State; by or through its agents, under said agreement, is estopped from defense or rebuttal in the matter, and
agrees that the Affiant may proceed by Tort Claim for damages.

THAT, this Affidavit if not rebutted point for point by any man, representing the State of Delaware, at any
level, in any matter, at any time within seven (7) days upon receipt, these facts stand as valid for both private and
public records...as true.

THAT, SARITA MAE BANNING IS A DEBTOR, SSN (Redacted).

THAT, Sarita Mae Banning is a Creditor, Trust Account No. (Redacted).

NOTE: A. Maxims of Commercial Law

e 3.In Commerce — Truth is sovereign.

e 7.Foramatter to be resolved, it must be expressed.

B. Point of Law — Silence equates to consent/agreement. (see also U.S. v. Tweel, 550 F. 2d 297,
299)

Further Affiant Sayth Not.

Done this {3 day of WETVYU  2020.4:,

     
   
 

fant, Authorized
{in behalf of

Sarita Mae Banning
Representative, Attort

Jurat .,
SUBSCRIBED TO AND SWORN before me this 2" day of OG@faice 2020 A.D., a Notary, that

Sarita Mae Banning, personally appeared and is known to me to be the wo/man whose name subscribed to this
within instrumentand acknowledgment to be the same.
2,

     
   

fg

Seal
for said State

byt Oo
Notary Public in-and

My Commission expires: Defober 62022.

Eee Sa yee

pettttes

 

.
. «
teeeet?

% Om )
WORLDWIDE INTERNATIONAL DOCUMENT 5MB20201012-AOT Sa ™ Copy Claim
Delivered via RF 245 413 170 US
a To Wont Case 1:20-cv-014059REA™ BOeliie el E/AIGMOESP2 0

sae qa M ‘na

Ndae us sae , NSh
Z A i

19801 "$0. 00

» he WAhe Quik ,
 Patiyind\e Nanyalhen Aske’ See

Antld Mates biginer Uys)
NW sivich of Delaware ie
wy Ken et \airt \9 pe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

RF 245 413 170 US

 

 

 

 

   
   

1405

2:0
